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      SO. CAL. EQUAL ACCESS GROUP
 1    Jason J. Kim (SBN 190246)
      Jason Yoon (SBN 306137)
 2    101 S. Western Ave., Second Floor
      Los Angeles, CA 90004
 3    Telephone: (213) 205-6560
      cm@SoCalEAG.com
 4
      Attorneys for Plaintiff
 5    K. PHILLIP TAYLOR
 6
 7                               UNITED STATES DISTRICT COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
 9
      K. PHILLIP TAYLOR,                               Case No.:
10
                   Plaintiff,                          COMPLAINT FOR INJUNCTIVE
11                                                     RELIEF AND DAMAGES FOR DENIAL
            vs.                                        OF CIVIL RIGHTS OF A DISABLED
12                                                     PERSON IN VIOLATIONS OF
13                                                     1. AMERICANS WITH DISABILITIES
                                                       ACT, 42 U.S.C. §12131 et seq.;
14    ARVIZU'S AUTOMOTIVE LLC;
      MICHAEL DAVID RICHARDS; and                      2. CALIFORNIA’S UNRUH CIVIL
15                                                     RIGHTS ACT;
      DOES 1 to 10,
16                 Defendants.                         3. CALIFORNIA’S DISABLED
                                                       PERSONS ACT;
17
                                                       4. CALIFORNIA HEALTH & SAFETY
18                                                     CODE;
19                                                     5. NEGLIGENCE
20
21
22
23          Plaintiff K. PHILLIP TAYLOR (“Plaintiff”) complains of Defendants ARVIZU'S
24    AUTOMOTIVE LLC; MICHAEL DAVID RICHARDS; and DOES 1 to 10
25    (“Defendants”) and alleges as follows:
26                                             PARTIES
27          1.     Plaintiff is a California resident with a physical disability. Plaintiff suffers
28    from Cerebrovascular disease, a condition that has severely affected his physical abilities,



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 1    and is substantially limited in his ability to walk. Plaintiff requires the use of a wheelchair
 2    at all times when traveling in public.
 3             2.   Defendants are, or were at the time of the incident, the real property owners,
 4    business operators, lessors and/or lessees of the real property for an auto repair shop
 5    (“Business”) located at or about 56530 29 Palms Hwy., Yucca Valley, California.
 6             3.   The true names and capacities, whether individual, corporate, associate or
 7    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 8    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 9    Court to amend this Complaint when the true names and capacities have been
10    ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
11    fictitiously named Defendants are responsible in some manner, and therefore, liable to
12    Plaintiff for the acts herein alleged.
13             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
14    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
15    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
16    the things alleged herein was acting with the knowledge and consent of the other
17    Defendants and within the course and scope of such agency or employment relationship.
18             5.   Whenever and wherever reference is made in this Complaint to any act or
19    failure to act by a defendant or Defendants, such allegations and references shall also be
20    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
21    and severally.
22                                  JURISDICTION AND VENUE
23             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
24    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
25    seq.).
26             7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
27    arising from the same nucleus of operating facts, are also brought under California law,
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 1    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 2    54, 54., 54.3 and 55.
 3          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 4          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 5    property which is the subject of this action is located in this district, San Bernardino
 6    County, California, and that all actions complained of herein take place in this district.
 7                                      FACTUAL ALLEGATIONS
 8          10.    In or about January of 2025, Plaintiff went to the Business.
 9          11.    The Business is an auto repair shop business establishment, open to the
10    public, and is a place of public accommodation that affects commerce through its
11    operation. Defendants provide parking spaces for customers.
12          12.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with his ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business.
15          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16    included, but were not limited to, the following:
17                 a.     Defendants failed to comply with the federal and state standards for
18                        the parking space designated for persons with disabilities. Defendants
19                        failed to provide the parking space identification sign with the
20                        International Symbol of Accessibility.
21                 b.     Defendants failed to comply with the federal and state standards for
22                        the parking space designated for persons with disabilities. Defendants
23                        failed to post required signage such as “Van Accessible,” “Minimum
24                        Fine $250” and “Unauthorized Parking.”
25                 c.     Defendants failed to comply with the federal and state standards for
26                        the parking space designated for persons with disabilities. Defendants
27                        failed to provide proper van accessible space designated for the
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 1                        persons with disabilities as there were no “NO PARKING” markings
 2                        painted on the surface of the access aisle.
 3          14.    These barriers and conditions denied Plaintiff full and equal access to the
 4    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 5    patronize the Business; however, Plaintiff is deterred from visiting the Business because
 6    his knowledge of these violations prevents him from returning until the barriers are
 7    removed.
 8          15.    Based on the violations, Plaintiff alleges, on information and belief, that
 9    there are additional barriers to accessibility at the Business after further site inspection.
10    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
11    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
12          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
13    knew that particular barriers render the Business inaccessible, violate state and federal
14    law, and interfere with access for the physically disabled.
15          17.    At all relevant times, Defendants had and still have control and dominion
16    over the conditions at this location and had and still have the financial resources to
17    remove these barriers without much difficulty or expenses to make the Business
18    accessible to the physically disabled in compliance with ADDAG and Title 24
19    regulations. Defendants have not removed such barriers and have not modified the
20    Business to conform to accessibility regulations.
21                                       FIRST CAUSE OF ACTION
22           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
23          18.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
26    shall be discriminated against on the basis of disability in the full and equal enjoyment of
27    the goods, services, facilities, privileges, advantages, or accommodations of any place of
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 1    public accommodation by any person who owns, leases, or leases to, or operates a place
 2    of public accommodation. See 42 U.S.C. § 12182(a).
 3          20.   Discrimination, inter alia, includes:
 4                a.    A failure to make reasonable modification in policies, practices, or
 5                      procedures, when such modifications are necessary to afford such
 6                      goods, services, facilities, privileges, advantages, or accommodations
 7                      to individuals with disabilities, unless the entity can demonstrate that
 8                      making such modifications would fundamentally alter the nature of
 9                      such goods, services, facilities, privileges, advantages, or
10                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
11                b.    A failure to take such steps as may be necessary to ensure that no
12                      individual with a disability is excluded, denied services, segregated or
13                      otherwise treated differently than other individuals because of the
14                      absence of auxiliary aids and services, unless the entity can
15                      demonstrate that taking such steps would fundamentally alter the
16                      nature of the good, service, facility, privilege, advantage, or
17                      accommodation being offered or would result in an undue burden. 42
18                      U.S.C. § 12182(b)(2)(A)(iii).
19                c.    A failure to remove architectural barriers, and communication barriers
20                      that are structural in nature, in existing facilities, and transportation
21                      barriers in existing vehicles and rail passenger cars used by an
22                      establishment for transporting individuals (not including barriers that
23                      can only be removed through the retrofitting of vehicles or rail
24                      passenger cars by the installation of a hydraulic or other lift), where
25                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
26                d.    A failure to make alterations in such a manner that, to the maximum
27                      extent feasible, the altered portions of the facility are readily
28                      accessible to and usable by individuals with disabilities, including



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 1                        individuals who use wheelchairs or to ensure that, to the maximum
 2                        extent feasible, the path of travel to the altered area and the
 3                        bathrooms, telephones, and drinking fountains serving the altered
 4                        area, are readily accessible to and usable by individuals with
 5                        disabilities where such alterations to the path or travel or the
 6                        bathrooms, telephones, and drinking fountains serving the altered area
 7                        are not disproportionate to the overall alterations in terms of cost and
 8                        scope. 42 U.S.C. § 12183(a)(2).
 9          21.    Where parking spaces are provided, accessible parking spaces shall be
10    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
11    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
12    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
13    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
14    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
15          22.    Under the ADA, the method and color of marking are to be addressed by
16    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
17    Building Code (“CBC”), the parking space identification signs shall include the
18    International Symbol of Accessibility. Parking identification signs shall be reflectorized
19    with a minimum area of 70 square inches. Additional language or an additional sign
20    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
21    parking space identification sign shall be permanently posted immediately adjacent and
22    visible from each parking space, shall be located with its centerline a maximum of 12
23    inches from the centerline of the parking space and may be posted on a wall at the
24    interior end of the parking space. See CBC § 11B-502.6, et seq.
25          23.    Moreover, an additional sign shall be posted either in a conspicuous place at
26    each entrance to an off-street parking facility or immediately adjacent to on-site
27    accessible parking and visible from each parking space. The additional sign shall not be
28    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in



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 1    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 2    designated accessible spaces not displaying distinguishing placards or special license
 3    plates issued for persons with disabilities will be towed away at the owner’s expense…”
 4    See CBC § 11B-502.8, et seq.
 5          24.      Here, Defendants failed to provide the parking space identification sign with
 6    the International Symbol of Accessibility. In addition, Defendants failed to provide the
 7    signs stating, “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
 8    to provide the additional sign with the specific language stating “Unauthorized vehicles
 9    parked in designated accessible spaces not displaying distinguishing placards or special
10    license plates issued for persons with disabilities will be towed away at the owner’s
11    expense…”
12          25.      For the parking spaces, access aisles shall be marked with a blue painted
13    borderline around their perimeter. The area within the blue borderlines shall be marked
14    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
15    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
16    be painted on the surface within each access aisle in white letters a minimum of 12 inches
17    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
18    11B-502.3.3.
19          26.      Here, Defendants failed to provide a proper access aisle as there were no
20    “NO PARKING” markings painted on the parking surface.
21          27.      A public accommodation shall maintain in operable working condition those
22    features of facilities and equipment that are required to be readily accessible to and usable
23    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
24          28.      By failing to maintain the facility to be readily accessible and usable by
25    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
26    regulations.
27          29.      The Business has denied and continues to deny full and equal access to
28    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be



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 1    discriminated against due to the lack of accessible facilities, and therefore, seeks
 2    injunctive relief to alter facilities to make such facilities readily accessible to and usable
 3    by individuals with disabilities.
 4                                  SECOND CAUSE OF ACTION
 5                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 6          30.    Plaintiff incorporates by reference each of the allegations in all prior
 7    paragraphs in this complaint.
 8          31.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 9    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
10    national origin, disability, medical condition, genetic information, marital status, sexual
11    orientation, citizenship, primary language, or immigration status are entitled to the full
12    and equal accommodations, advantages, facilities, privileges, or services in all business
13    establishments of every kind whatsoever.”
14          32.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
15    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
16    for each and every offense for the actual damages, and any amount that may be
17    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
18    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
19    attorney’s fees that may be determined by the court in addition thereto, suffered by any
20    person denied the rights provided in Section 51, 51.5, or 51.6.
21          33.    California Civil Code § 51(f) specifies, “a violation of the right of any
22    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
23    shall also constitute a violation of this section.”
24          34.    The actions and omissions of Defendants alleged herein constitute a denial
25    of full and equal accommodation, advantages, facilities, privileges, or services by
26    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
27    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
28    51 and 52.



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 1          35.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 2    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 3    damages as specified in California Civil Code §55.56(a)-(c).
 4                                  THIRD CAUSE OF ACTION
 5                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 6          36.    Plaintiff incorporates by reference each of the allegations in all prior
 7    paragraphs in this complaint.
 8          37.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 9    entitled to full and equal access, as other members of the general public, to
10    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
11    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
12    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
13    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
14    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
15    places of public accommodations, amusement, or resort, and other places in which the
16    general public is invited, subject only to the conditions and limitations established by
17    law, or state or federal regulation, and applicable alike to all persons.
18          38.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
19    corporation who denies or interferes with admittance to or enjoyment of public facilities
20    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
21    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
22    the actual damages, and any amount as may be determined by a jury, or a court sitting
23    without a jury, up to a maximum of three times the amount of actual damages but in no
24    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
25    determined by the court in addition thereto, suffered by any person denied the rights
26    provided in Section 54, 54.1, and 54.2.
27          39.    California Civil Code § 54(d) specifies, “a violation of the right of an
28    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also



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 1   constitute a violation of this section, and nothing in this section shall be construed to limit
 2   the access of any person in violation of that act.
 3         40.    The actions and omissions of Defendants alleged herein constitute a denial
 4   of full and equal accommodation, advantages, and facilities by physically disabled
 5   persons within the meaning of California Civil Code § 54. Defendants have
 6   discriminated against Plaintiff in violation of California Civil Code § 54.
 7         41.    The violations of the California Disabled Persons Act caused Plaintiff to
 8   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 9   statutory damages as specified in California Civil Code §55.56(a)-(c).
10                                FOURTH CAUSE OF ACTION
11                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
12         42.    Plaintiff incorporates by reference each of the allegations in all prior
13   paragraphs in this complaint.
14         43.    Plaintiff and other similar physically disabled persons who require the use of
15   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
16   such facility is in compliance with the provisions of California Health & Safety Code §
17   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
18   provisions of California Health & Safety Code § 19955 et seq.
19         44.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
20   that public accommodations or facilities constructed in this state with private funds
21   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
22   Title 1 of the Government Code. The code relating to such public accommodations also
23   require that “when sanitary facilities are made available for the public, clients, or
24   employees in these stations, centers, or buildings, they shall be made available for
25   persons with disabilities.
26         45.    Title II of the ADA holds as a “general rule” that no individual shall be
27   discriminated against on the basis of disability in the full and equal enjoyment of goods
28   (or use), services, facilities, privileges, and accommodations offered by any person who



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 1   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 2   Further, each and every violation of the ADA also constitutes a separate and distinct
 3   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 4   award of damages and injunctive relief pursuant to California law, including but not
 5   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 6                                   FIFTH CAUSE OF ACTION
 7                                         NEGLIGENCE
 8          46.    Plaintiff incorporates by reference each of the allegations in all prior
 9   paragraphs in this complaint.
10          47.    Defendants have a general duty and a duty under the ADA, Unruh Civil
11   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
12   to the Plaintiff.
13          48.    Defendants breached their duty of care by violating the provisions of ADA,
14   Unruh Civil Rights Act and California Disabled Persons Act.
15          49.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
16   has suffered damages.
17                                     PRAYER FOR RELIEF
18          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
19   Defendants as follows:
20          1.     For preliminary and permanent injunction directing Defendants to comply
21   with the Americans with Disability Act and the Unruh Civil Rights Act;
22          2.     Award of all appropriate damages, including but not limited to statutory
23   damages, general damages and treble damages in amounts, according to proof;
24          3.     Award of all reasonable restitution for Defendants’ unfair competition
25   practices;
26          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
27   action;
28          5.     Prejudgment interest pursuant to California Civil Code § 3291; and



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 1         6.     Such other and further relief as the Court deems just and proper.
 2                              DEMAND FOR TRIAL BY JURY
 3         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 4   demands a trial by jury on all issues so triable.
 5
 6   Dated: April 21, 2025                   SO. CAL. EQUAL ACCESS GROUP
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 9                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
10                                                  Attorneys for Plaintiff
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